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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

Vv.

CRIMINAL NO, 19-CR-490

JEFFREY EPSTEIN,
Defendant

 

 

AFFIDAVIT IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE
I, Martin G. Weinberg, state and affirm that:
1. I have never been convicted of a felony.

2. I have never been censured, suspended, disbarred, or denied admission or readmission by
any court.

3. There are no disciplinary proceedings pending presently against me.
Signed under the pains and penalties of perjury.
Martin G. Weinberg 2
20 Park Plaza, Suite 1000
Boston, MA 02116

(617) 227-3700
owlmgw@att.net

Dated: July 15, 2019
